Case 3:17-cv-02366-BAS-KSC         Document 521      Filed 08/18/20   PageID.35712   Page
                                         1 of 21

    1       MAYER BROWN LLP
             Matthew H. Marmolejo (CA Bar No. 242964)
    2        mmarmolejo@mayerbrown.com
            350 S. Grand Avenue
    3       25th Floor
            Los Angeles, CA 90071-1503
    4         Ori Lev (DC Bar No. 452565)
             (pro hac vice)
    5        olev@mayerbrown.com
              Stephen M. Medlock (VA Bar No. 78819)
    6        (pro hac vice)
             smedlock@mayerbrown.com
    7       1999 K Street, N.W.
            Washington, D.C. 20006
    8       Telephone: +1.202.263.3000
            Facsimile: +1.202.263.3300
    9
            SOUTHERN POVERTY LAW CENTER
   10         Melissa Crow (DC Bar No. 453487)
              (pro hac vice)
   11         melissa.crow@splcenter.org
            1101 17th Street, N.W., Suite 705
   12       Washington, D.C. 20036
            Telephone: +1.202.355.4471
   13       Facsimile: +1.404.221.5857
   14       Additional counsel listed on next page
            Attorneys for Plaintiffs
   15
                              UNITED STATES DISTRICT COURT
   16
                            SOUTHERN DISTRICT OF CALIFORNIA
   17
        Al Otro Lado, Inc., et al.,                   Case No.: 17-cv-02366-BAS-KSC
   18

   19                      Plaintiffs,                JOINT MOTION FOR
                                                      DETERMINATION OF MAY 2020
   20            v.                                   CLAWBACK DISPUTE
   21   Chad F. Wolf,1 et al.,
   22
                           Defendants.
   23                                                 DECLARATIONS OF STEPHEN M.
                                                      MEDLOCK AND ALEXANDER J.
   24                                                 HALASKA FILED CONCURRENTLY
   25

   26

   27
        1
         Acting Secretary Wolf is automatically substituted for former Acting Secretary
   28   McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                              JOINT MOTION FOR DETERMINATION OF
                                                                              DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC    Document 521    Filed 08/18/20    PageID.35713   Page
                                    2 of 21

    1

    2   CENTER FOR CONSTITUTIONAL RIGHTS
    3     Baher Azmy (NY Bar No. 2860740) (pro hac vice)
          bazmy@ccrjustice.org
    4     Ghita Schwarz (NY Bar No. 3030087) (pro hac vice)
          gschwarz@ccrjustice.org
    5     Angelo Guisado (NY Bar No. 5182688) (pro hac vice)
          aguisado@ccrjustice.org
    6
        666 Broadway, 7th Floor
    7   New York, NY 10012
        Telephone: +1.212.614.6464
    8   Facsimile: +1.212.614.6499
    9   SOUTHERN POVERTY LAW CENTER
          Sarah Rich (GA Bar No. 281985) (pro hac vice)
   10     sarah.rich@splcenter.org
          Rebecca Cassler (MN Bar No. 0398309) (pro hac vice)
   11     rebecca.cassler@splcenter.org
   12   150 E. Ponce de Leon Ave., Suite 340
        Decatur, GA 30030
   13   Telephone: +1.404.521.6700
        Facsimile: +1.404.221.5857
   14
      AMERICAN IMMIGRATION COUNCIL
   15
        Karolina Walters (DC Bar No. 1049113) (pro hac vice)
   16   kwalters@immcouncil.org
      1331 G St. NW, Suite 200
   17 Washington, D.C. 20005
      Telephone: +1.202.507.7523
   18 Facsimile: +1.202.742.5619

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                       JOINT MOTION FOR DETERMINATION OF
                                                                       DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC      Document 521      Filed 08/18/20      PageID.35714        Page
                                      3 of 21

    1         The parties submit this joint motion for purposes of deciding the propriety of
    2   certain of Defendants’ claims of deliberative-process privilege.              This motion
    3   addresses a claw back notice was served on May 29, 2020 (the “May Clawback”).
    4   Plaintiffs disputed several of the privilege claims. The parties have met, conferred,
    5   and narrowed their disputes to 34 documents, or portions thereof, which are listed
    6   below and will be lodged with this Court for in camera review, highlighted to
    7   identify the material over which Defendants are asserting privilege.
    8
             Documents      Bates Range       Defendants’ Deliberative Process Privilege
    9
                                                           (“DPP”) Assertions
   10             1        AOL-DEF-        DPP: entire document; email chain gathering,
                           00095574        presenting, and revising information and estimates
   11                                      in response to request from DHS Secretary for
                                           purposes of informing future policy decisions
   12                                      relating to implementation of queue management,
                                           which reflects internal deliberations and identifies
   13
                                           the decisionmakers' predecisional considerations
   14                                      for policymaking.
                  2        AOL-DEF-        DPP: entire document; email chain gathering,
   15                      00090887        presenting, and revising information and estimates
                                           in response to request from DHS Secretary for
   16                                      purposes of informing future policy decisions
   17                                      relating to implementation of queue management,
                                           which reflects internal deliberations and identifies
   18                                      the decisionmakers' predecisional considerations
                                           for policymaking.
   19             3        AOL-DEF-        DPP: entire document; email chain gathering,
                           00090901        presenting, and revising information and estimates
   20                                      in response to request from DHS Secretary for
   21                                      purposes of informing future policy decisions
                                           relating to implementation of queue management,
   22                                      which reflects internal deliberations and identifies
                                           the decisionmakers' predecisional considerations
   23                                      for policymaking.
                  4        AOL-DEF-        DPP: entire document; email chain gathering,
   24
                           00377294        presenting, and revising information and estimates
   25                                      in response to request from DHS Secretary for
                                           purposes of informing future policy decisions
   26                                      relating to implementation of queue management,
                                           which reflects internal deliberations and identifies
   27                                      the decisionmakers' predecisional considerations
                                           for policymaking.
   28
                                                             JOINT MOTION FOR DETERMINATION OF
                                                  1                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521    Filed 08/18/20      PageID.35715        Page
                                   4 of 21

    1           5       AOL-DEF-      DPP: entire document; email chain gathering,
                        00095562      presenting, and revising information and estimates
    2                                 in response to request from DHS Secretary for
    3                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
    4                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
    5                                 for policymaking.
                6       AOL-DEF-      DPP: entire document; email chain gathering,
    6
                        00095578      presenting, and revising information and estimates
    7                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
    8                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
    9                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   10
                7       AOL-DEF-      DPP: entire document; email chain gathering,
   11                   00095582      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   12                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   13                                 which reflects internal deliberations and identifies
   14                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   15           8       AOL-DEF-      DPP: entire document; email chain gathering,
                        00095816      presenting, and revising information and estimates
   16                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   17                                 relating to implementation of queue management,
   18                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   19                                 for policymaking.
                9       AOL-DEF-      DPP: entire document; email chain gathering,
   20                   00276327      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   21
                                      purposes of informing future policy decisions
   22                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   23                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   24           10      AOL-DEF-      DPP: entire document; email chain gathering,
                        00095827      presenting, and revising information and estimates
   25
                                      in response to request from DHS Secretary for
   26                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   27                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   28
                                                        JOINT MOTION FOR DETERMINATION OF
                                             2                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521    Filed 08/18/20      PageID.35716        Page
                                   5 of 21

    1                                 for policymaking.
                11      AOL-DEF-      DPP: entire document; email chain gathering,
    2                   00095832      presenting, and revising information and estimates
    3                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
    4                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
    5                                 the decisionmakers' predecisional considerations
                                      for policymaking.
    6
                12      AOL-DEF-      DPP: entire document; email chain gathering,
    7                   00224218      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
    8                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
    9                                 which reflects internal deliberations and identifies
   10                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   11           13      AOL-DEF-      DPP: entire document; email chain gathering,
                        00288076      presenting, and revising information and estimates
   12                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   13                                 relating to implementation of queue management,
   14                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   15                                 for policymaking.
                14      AOL-DEF-      DPP: entire document; email chain gathering,
   16                   00288078      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   17
                                      purposes of informing future policy decisions
   18                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   19                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   20           15      AOL-DEF-      DPP: entire document; email chain gathering,
                        00224243      presenting, and revising information and estimates
   21
                                      in response to request from DHS Secretary for
   22                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   23                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   24                                 for policymaking.
   25

   26

   27

   28
                                                        JOINT MOTION FOR DETERMINATION OF
                                             3                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521    Filed 08/18/20      PageID.35717        Page
                                   6 of 21

    1           16      AOL-DEF-      DPP: entire document; email chain gathering,
                        00351591      presenting, and revising information and estimates
    2                                 in response to request from DHS Secretary for
    3                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
    4                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
    5                                 for policymaking.
                17      AOL-DEF-      DPP: entire document; email chain gathering,
    6                   00074316      presenting, and revising information and estimates
    7                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
    8                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
    9                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   10
                18      AOL-DEF-      DPP: entire document; email chain gathering,
   11                   00371167      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   12                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   13                                 which reflects internal deliberations and identifies
   14                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   15           19      AOL-DEF-      DPP: entire document; email chain gathering,
                        00371170      presenting, and revising information and estimates
   16                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   17                                 relating to implementation of queue management,
   18                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   19                                 for policymaking.
                20      AOL-DEF-      DPP: entire document; email chain gathering,
   20                   00790693      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   21
                                      purposes of informing future policy decisions
   22                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   23                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   24           21      AOL-DEF-      DPP: entire document; email chain gathering,
                        01269953      presenting, and revising information and estimates
   25
                                      in response to request from DHS Secretary for
   26                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   27                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   28
                                                        JOINT MOTION FOR DETERMINATION OF
                                             4                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521    Filed 08/18/20      PageID.35718        Page
                                   7 of 21

    1                                 for policymaking.
    2           22      AOL-DEF-      DPP: entire document; email chain gathering,
                        01269954      presenting, and revising information and estimates
    3                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
    4                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
    5
                                      the decisionmakers' predecisional considerations
    6                                 for policymaking.
                23      AOL-DEF-      DPP: entire document; email chain gathering,
    7                   01269961      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
    8                                 purposes of informing future policy decisions
    9                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   10                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   11           24      AOL-DEF-      DPP: entire document; email chain gathering,
                        00902186      presenting, and revising information and estimates
   12                                 in response to request from DHS Secretary for
   13                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   14                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   15                                 for policymaking.
                25      AOL-DEF-      DPP: entire document; email chain gathering,
   16                   00902179      presenting, and revising information and estimates
   17                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   18                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   19                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   20
                26      AOL-DEF-      DPP: entire document; email chain gathering,
   21                   00902188      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   22                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   23                                 which reflects internal deliberations and identifies
   24                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   25           27      AOL-DEF-      DPP: entire document; email chain gathering,
                        00908907      presenting, and revising information and estimates
   26                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   27                                 relating to implementation of queue management,
   28                                 which reflects internal deliberations and identifies
                                                          JOINT MOTION FOR DETERMINATION OF
                                             5                            DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521    Filed 08/18/20      PageID.35719        Page
                                   8 of 21

    1                                 the decisionmakers' predecisional considerations
                                      for policymaking.
    2                   AOL-DEF-
                28                    DPP: entire document; email chain gathering,
    3                   00908910      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
    4                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
    5                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
    6
                                      for policymaking.
    7           29      AOL-DEF-      DPP: entire document; email chain gathering,
                        01037128      presenting, and revising information and estimates
    8                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
    9                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   10
                                      the decisionmakers' predecisional considerations
   11                                 for policymaking.
                30      AOL-DEF-      DPP: entire document; email chain gathering,
   12                   01037131      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   13                                 purposes of informing future policy decisions
   14                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   15                                 the decisionmakers' predecisional considerations
                                      for policymaking.
   16           31      AOL-DEF-      DPP: entire document; email chain gathering,
                        01037134      presenting, and revising information and estimates
   17
                                      in response to request from DHS Secretary for
   18                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   19                                 which reflects internal deliberations and identifies
                                      the decisionmakers' predecisional considerations
   20                                 for policymaking.
                32      AOL-DEF-      DPP: entire document; email chain gathering,
   21
                        01037137      presenting, and revising information and estimates
   22                                 in response to request from DHS Secretary for
                                      purposes of informing future policy decisions
   23                                 relating to implementation of queue management,
                                      which reflects internal deliberations and identifies
   24                                 the decisionmakers' predecisional considerations
   25                                 for policymaking.
                33      AOL-DEF-      DPP: entire document; email chain gathering,
   26                   01037139      presenting, and revising information and estimates
                                      in response to request from DHS Secretary for
   27                                 purposes of informing future policy decisions
                                      relating to implementation of queue management,
   28
                                                        JOINT MOTION FOR DETERMINATION OF
                                             6                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC         Document 521       Filed 08/18/20      PageID.35720         Page
                                         9 of 21

    1                                          which reflects internal deliberations and identifies
                                               the decisionmakers' predecisional considerations
    2                                          for policymaking.
    3              34        AOL-DEF-          DPP: entire document; substantive discussion of
                             00288011          non-final proposed changes and edits to DHS
    4                                          Secretary's queue management memo and
                                               information provided for purposes of informing
    5                                          potential decisionmaking regarding
                                               implementation of queue management.
    6
                  352        AOL-DEF-          DPP: entire document; substantive discussion of
    7                        00288013          non-final proposed changes and edits to DHS
                                               Secretary's queue management memo and
    8                                          information provided for purposes of informing
                                               potential decisionmaking regarding
    9                                          implementation of queue management.
   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27
        2
         These documents are referred to below as “Doc.” They will be lodged with the Court for in
   28   camera review by Defendants.
                                                                 JOINT MOTION FOR DETERMINATION OF
                                                      7                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20        PageID.35721     Page
                                       10 of 21

    1                       DEFENDANTS’ ARGUMENT
    2
           I.      INTRODUCTION
                Plaintiffs are challenging Defendants’ assertion of deliberative process
    3
        privilege over several related email chains that pertain to the government’s high-
    4
        level deliberative processes with respect to queue management. There is no
    5
        question—and Plaintiffs do not dispute—that the material at issue is protected by
    6
        the deliberative process privilege. The emails in question predate the decision to
    7
        issue the June 5, 2018 Prioritization-Based Queue Management Memorandum and
    8
        were prepared to assist the decisionmaker in arriving at a final decision. Sierra Club,
    9
        Inc. v. U.S. Fish & Wildlife Serv., 925 F.3d 1000, 1012 (9th Cir. 2019); see also id.
   10
        at 1014 (holding that a document created by a final decisionmaker was not
   11
        predecisional because it represented the final view of the agency). They are also
   12
        deliberative, and their disclosure “would expose an agency’s decisionmaking
   13   process in such a way to discourage candid discussion within the agency and thereby
   14   undermine the agency’s ability to perform its function.” Carter v. U.S. Dep’t of
   15   Commerce, 307 F.3d 1084, 1089 (9th Cir. 2002). Nor should the privilege yield in
   16   this case. There is no need to delve into internal, high-level deliberations to assess
   17   whether the government’s queue management policies are supported by adequate
   18   reasoning. Accordingly, these materials should not be disclosed so as to “protect[]
   19   and encourage[] the agency’s ability to have candid discussions.” California Native
   20   Plant Society v. U.S. Envtl. Prot. Agency, 251 F.R.D. 408,411 (N.D. Cal. 2008).
   21           The privilege should not give way here. Contrary to Plaintiffs’ allegation, see
   22   infra at p. 13, Defendants have not used the privilege as a sword and a shield, as they
   23   have not previously relied on the privileged deliberations at issue or similar

   24   predecisional deliberations in defense of their case. Rather, the disclosure of the

   25
        privileged material was inadvertent. Further, contrary to Plaintiffs’ allegation, these
        documents do not reveal or show any “intent” related to the policy at issue. The
   26
        documents compile certain information requested by the DHS Secretary as part of
   27
        the decisionmaking process, but do not contain any discussion of the reasons or
   28
                                                            JOINT MOTION FOR DETERMINATION OF
                                                   8                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC        Document 521 Filed 08/18/20        PageID.35722     Page
                                        11 of 21

    1   “intent” underlying the policy decision itself. Lastly, the government maintains that
    2   these deliberations—even if they demonstrated “intent”—are irrelevant to the issues
    3   to be decided in this case. At issue here is the objective validity of the government’s
    4   metering or “queue management” practices, not its “intent” or even the
    5   decisionmaking process itself. It is true that Judge Bashant has stated that the validity
    6   of the government’s justification for metering—operational capacity constraints in
    7   light of CBP’s multiple statutory mission sets—is at issue. However, the validity of
    8   this justification must be examined on its merits by evaluating the facts underlying
    9   those capacity constraints, which Defendants have produced in discovery. See Motor

   10   Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 50 (1983) (“It is well-established

   11
        that an agency’s action must be upheld, if at all, on the basis articulated by the agency
        itself.”). But even if “intent” were relevant, there is no need for Plaintiffs to delve
   12
        into predecisional deliberations, particularly those that do not, on their face, contain
   13
        any discussion of “intent,” because the government’s interest in ensuring the free
   14
        flow of policy ideas would be harmed by disclosure of their deliberations.
   15

   16      II.      THE DOCUMENTS AT ISSUE.

   17            Defendants assert the privilege over the entirety of various email chains
   18   relating to the proposed adoption of the June 2018 Prioritization-Based Queue
   19   Management Memo, which were inadvertently produced in discovery. The May 24,
   20   2018 email conversation collects information, projections, and estimates, from CBP
   21   officials about certain possible effects of the
   22                              , in response to questions from the Secretary of Homeland
   23   Security. Docs. 1-32, see Draganac Decl. ¶ 5-7. This information was then relayed
   24   through CBP leadership to the DHS Secretary as part of the decisionmaking process
   25   surrounding the implementation of the Prioritization-Based Queue Management
   26   pilot. Docs. 33-35, see Draganac Decl. ¶ 5-7, 8.
   27            These documents are protected by the deliberative process privilege because
   28   they (1) reveal predecisional information collected as part of the decisionmaking
                                                             JOINT MOTION FOR DETERMINATION OF
                                                   9                         DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20        PageID.35723      Page
                                       12 of 21

    1   process; and (2) reveal the thought processes and considerations of senior
    2   policymakers at CBP and DHS in determining whether to implement prioritization-
    3   based queue management as set forth in the later June 5, 2018 Prioritization-Based
    4   Queue Management memo. See Draganac Decl. ¶¶ 5-7, 8. The questions posed by
    5   the Secretary in preparation for the May 24, 2018 meeting reveal the content of
    6   internal deliberations. Further, the responses were clearly considered by both CBP
    7   and DHS decision-makers, as opposed to the “Point of Entry Briefing” rejected by
    8   the court as not entitled to deliberative process privilege in its May 1 Privilege Order
    9   (ECF No. 446).
   10      III.   THE DELIBERATIVE PROCESS SHOULD NOT YIELD
   11             BECAUSE THE HARMS OF DISCLOSURE OUTWEIGH THE
   12             NEED FOR THE DOCUMENTS.
   13         For the privilege to yield, the Court must determine whether Plaintiffs’ “need
   14   for the materials and need for accurate fact-finding override[s] the government’s
   15   interest in nondisclosure” after considering: (1) the relevance of the evidence; (2)
   16   the availability of other evidence; (3) the government’s role in the litigation; and (4)
   17   the extent to which disclosure would hinder frank and independent discussion
   18   regarding contemplated policies and decisions. F.T.C. v. Warner Commc’ns, Inc.,
   19   742 F.3d 1156, 1161 (9th Cir. 1984). Here, the harms that would result from
   20
        disclosure of internal deliberations far outweigh Plaintiffs’ need for the documents.
   21
              Plaintiffs have not met their burden to show that the privilege over these
   22
        documents should yield. Plaintiffs argue that these emails are “critical” to their case
   23
        because they reveal that the government’s primary motivation was to turn
   24
        individuals away and that all other considerations were a “pretext.” Infra at p. 12.
   25
        Here, the emails at issue hardly constitute “direct evidence” of “pretext,” see infra
   26
        at p. 15, but instead reveal an evaluation of potential effects of fully implementing a
   27
        proposed policy. Without a stronger showing that these emails reveal a pretext,
   28
                                                            JOINT MOTION FOR DETERMINATION OF
                                                  10                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20        PageID.35724      Page
                                       13 of 21

    1   Plaintiffs cannot overcome the deliberative process privilege.          See American
    2   Petroleum Tankers Parent, LLC v. U.S., 952 F. Supp. 252, 267 (D.D.C. 2013)
    3   (upholding the Government’s assertion of privilege and rejecting plaintiff’s prima
    4   facie showing of pretext as insufficient to overcome DPP.).
    5         Even if Plaintiffs’ claims of pretext were an appropriate inference to draw
    6   from these materials, the government maintains that the “intent” of a particular
    7   policy is irrelevant to causes of action that Plaintiffs assert under the APA, the INA,
    8   the Due Process Clause, and the international norm of non-refoulement. See In re
    9   Subpoena Duces Tecum Served on Office of Comp. of Currency, 156 F.3d 1279,
   10   1279 (D.C. Cir. 1998) (“the actual subjective motivation of agency decisionmakers
   11   is immaterial as a matter of law – unless there is a showing of bad faith or improper
   12   behavior”). Instead, the question is whether “agency action” may be upheld “on the
   13   basis articulated by the agency,” Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S.
   14   29, 50 (1983). Thus, the inquiry should be whether the government’s use of
   15   metering, and its decision to prioritize its mission sets as outlined in the June 2018
   16   memo, is supported by the conditions at each port of entry and by articulable
   17   justifications outlined in its final policy memos, and not the perceived subjective
   18   motivation of the decisionmaker. That is, the validity of the government’s
   19   justification may (and must, in an APA case) be examined on its merits by evaluating
   20
        the facts underlying its capacity constraints, which the government has produced in
   21
        discovery. Indeed, Plaintiffs’ proffered expert report examines and assesses this
   22
        information. While Defendants disagree with Plaintiffs’ conclusions about this
   23
        evidence, the fact remains that the evidence concerning capacity is sufficient to
   24
        evaluate the Plaintiffs’ claims in this case. Further, there is other available evidence
   25
        that Plaintiffs claim demonstrate “pretext” or “intent”—including documents that
   26
        Plaintiffs have attached to their briefing and that the District Court has already
   27

   28
                                                            JOINT MOTION FOR DETERMINATION OF
                                                  11                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC      Document 521 Filed 08/18/20       PageID.35725     Page
                                      14 of 21

    1   considered. Class Certification Order (ECF No. 513) at 11, 16. Plaintiffs thus cannot
    2   show that they need the deliberative documents at all.
    3         And the harms of disclosure to the quality of governmental decisionmaking
    4   cannot be understated. Release of internal deliberations would negatively impact
    5   future deliberations and would greatly impede on an agency’s ability to engage in
    6   open and frank discussions. See Draganac Decl. ¶ 10 (“Agency personnel must feel
    7   free to propose, discuss, and assess all potential policy options in connection with
    8   the guidance, even those that may present legal, operational, or policy risks.”). The
    9   protective order—even the Attorneys’ Eyes Only designation—cannot fully protect
   10   against these harms. See Draganac Decl. ¶¶ 11-12. Indeed, it is this risk of using
   11   officials’ words against them—regardless of the validity of these inferences—that is
   12   precisely the harm against which the deliberative process privilege was meant to
   13   protect. See Dep’t of Interior v. Klamath Water Users Protective Ass'n, 532 U.S. 1,
   14   8–9 (2001) (privilege rests on “the obvious realization that officials will not
   15   communicate candidly among themselves if each remark is a potential item of
   16   discovery and front page news” and “to enhance the quality of agency decisions by
   17   protecting open and frank discussion among those who make them within the
   18   Government.”).
   19         Plaintiffs do not dispute that these documents are privileged and rather assert
   20
        falsely that “the Government has no interest in the privacy of [these]
   21
        communications.” Infra at p. 15. On the contrary, the disclosure of these documents
   22
        inevitably chills officials’ frank and open communication, compromising future
   23
        decisionmaking. Draganac Decl. ¶¶ 9-12. Such a chilling effect would significantly
   24
        harm the ability of CBP and DHS to propose, consider, and discuss various policy
   25
        changes in the future. See id.
   26
        //
   27
        //
   28
                                                          JOINT MOTION FOR DETERMINATION OF
                                                12                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20        PageID.35726      Page
                                       15 of 21

    1                              PLAINTIFFS’ ARGUMENT
    2   I.    Introduction
    3         A party cannot use a privilege law as both a shield and sword. Oracle Am.,
    4   Inc. v. Innovative Tech. Distribs., LLC, 2011 WL 2558925, at *1 (N.D. Cal. 2011).
    5   But, that is exactly what Defendants have done. and continue to do.
    6         This is a case concerning the Defendants’ policy of turning back asylum
    7   seekers that are in the process of arriving at ports of entry on the U.S.-Mexico border.
    8   In their Answer, Defendants “deny that CBP has implemented a ‘Turnback Policy’
    9   and aver instead that CBP has issued guidance permitting ports of entry . . . to
   10   implement metering procedures based on their operational capacities.” Dkt. 283 at
   11   ¶ 7. As Defendants put it in their class certification opposition, turnbacks occurred
   12   at ports of entry on the U.S.-Mexico border for “operational purposes,” such as a
   13   lack of holding capacity, “not to deter [non-citizens] from seeking asylum in the
   14   United States.” Dkt. 406 at 10. One of the key documents Defendants have cited in
   15   support of this argument is a “prioritization-based queue management”
   16   memorandum that was first issued on June 5, 2018. See Dkt. 406-4 at 306.
   17         Defendants would like the Court to accept the justifications in the
   18   prioritization-based queue management memo, but are attempting to shield from
   19
        discovery based on the deliberative process privilege documents showing that they
   20
        were adopted based on a pretext. Specifically, correspondence concerning the
   21
        prioritization-based queue management policy shows that U.S. Homeland Security
   22
        Secretary Kirstjen Nielsen specifically considered
   23

   24
                                              , and pressed on with implementing the policy
   25
        anyway. Because Defendants have put the prioritization-based queue management
   26
        memorandum at the heart of their defense, their efforts to assert the deliberative
   27
        process privilege must fail. Even if the deliberative process privilege does apply,
   28
                                                            JOINT MOTION FOR DETERMINATION OF
                                                  13                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC      Document 521 Filed 08/18/20        PageID.35727     Page
                                      16 of 21

    1   that qualified privilege is overcome by the need for this highly relevant information.
    2   II.    The Prioritization-Based Queue Management Policy Was a Thinly-
    3          Veiled Effort to Turn Back Asylum Seekers
    4          The documents subject to the May Clawback Notice are critical to this case.
    5   In May 2018, DHS began rewriting its guidance on turning back asylum seekers. In
    6   late May 2018, DHS Secretary Nielsen began considering a “prioritization-based
    7   queue management” approach that would allow port directors to turnback asylum
    8   seekers when they felt that certain amorphous factors warranted it. During a May
    9   24, 2018 meeting concerning the prioritization-based queue management policy,
   10   Secretary Nielsen
   11

   12                                    Doc. 17 at 317. In response to Secretary Nielsen’s
   13   question, the Office of Field Operations’ (OFO’s) San Diego Field Office indicated
   14   that
   15

   16                                      . Id. at 316. OFO’s El Paso Field Office reported
   17   that                                                                             Doc.
   18   1 at 575.
   19          Doc. 4.
   20

   21

   22
                 Doc. 34 at 011.
   23

   24
                                                                                           Id.
   25

   26

   27
                                                            Id.
   28
                                                           JOINT MOTION FOR DETERMINATION OF
                                                 14                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20         PageID.35728     Page
                                       17 of 21

    1                                                                       After being briefed
    2   about the effects of the policy, Secretary Nielsen implemented it on June 5, 2018.
    3   Therefore, the documents that Defendants seek to claw back are powerful evidence
    4   that, despite their litigation position, officials at the highest level of the U.S.
    5   Department of Homeland Security and U.S. Customs and Border Protection
    6   explicitly
    7                                                        before implementing it.
    8   III.   The Relevance Of The Documents Outweighs Defendants’ Qualified
    9          Deliberative Process Privilege
   10           “The deliberative process privilege is a qualified privilege that applies to pre-
   11   decisional, non-factual, non-public communication occurring within federal
   12   agencies.” Dkt. 446 at 4 (citations omitted). It shields from discovery
   13   communications related to matters of law or policy, with the purpose of protecting
   14   governmental     decision-making       by    maintaining     the   confidentiality    of
   15   recommendations, advise, and deliberations about the formulation of regulations and
   16   policy. Id. The Government bears the initial burden of establishing that documents
   17   are covered by the privilege. Id..
   18          The deliberative process privilege is not absolute. Dkt. 446 at 5. It is a
   19   qualified privilege that is to be applied as narrowly as possible. See Coastal States
   20
        Gas Corp. v. Dep’t of Energy, 617 F.3d 854, 868 (D.C. Cir. 1980). Even if the
   21
        privilege applies, the documents at issue may be discoverable if the plaintiffs’ “need
   22
        for the materials and the need for accurate fact-finding override the government’s
   23
        interest in non-disclosure.” L.H. v. Schwarzenegger, 2007 WL 2009807, at *2–3
   24
        (E.D. Cal. 2007) (citing FTC v. Warner Commc'ns., Inc., 742 F.2d 1156, 1161 (9th
   25
        Cir.1984)). In Warner, the Ninth Circuit laid out four factors to be considered when
   26
        balancing the plaintiffs’ need for discovery against the government’s privilege
   27
        claim: (1) the relevance of the evidence sought to the litigation; (2) the availability
   28
                                                             JOINT MOTION FOR DETERMINATION OF
                                                    15                       DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC       Document 521 Filed 08/18/20       PageID.35729     Page
                                       18 of 21

    1   of comparable evidence from other sources; (3) the government’s role in the
    2   litigation; and (4) the extent to which disclosure would hinder frank and independent
    3   discussion regarding contemplated policies and decisions. 742 F.2d at 1161.
    4         All four factors favor disclosure the documents here. (1) All of the documents
    5   link the Government’s policies to an illegal intent to turnback asylum seekers who
    6   are in the process of arriving at a port of entry. See Dkt. 280 at 60 (a key issue in
    7   this case is whether the Government’s stated justification for turn backs—
    8   “operational capacity constraints” is a pretext); Dkt. 446 at 6.        In particular,
    9   Documents 1-34 show that DHS Secretary Nielsen explicitly requested and
   10   considered how the extent to which the prioritization-based queue management
   11   policy would result in turnbacks of asylum seekers. (2) There is no other evidence
   12   that directly shows that the prioritization-based queue management memorandum
   13   was based on a pretext. Indeed, Defendants steadfastly denied that was the case. For
   14   instance, after acknowledging that CBP policy required him to testify fully and
   15   accurately, Ex. 1 at 51:12-54:1, and that he has always been honest about the purpose
   16   of the metering policy, id. at 56:22-57:13, Todd Owen testified that the purpose of
   17   the turnback policy “was not . . . to deter migrants from enter the U.S. No, it was
   18   not.” Id. at 70:1-5. Plaintiffs should not have to take Mr. Owen’s word for it. (3)
   19   The Government is a party to this case and the deliberative process privilege is
   20
        “inapplicable where the agency’s decision-making is itself at issue.” Dkt. 446 at 5.
   21
        (4) The disclosure of the documents at issue here would not hinder Government
   22
        decision-making—the Government has no interest in the privacy of communications
   23
        that violate the law and, at any rate, the Protective Order in this case restricts the
   24
        disclosure of these documents. See Dkt. 446 at 6. Thus, even if the deliberative
   25
        process privilege applied to these documents, all of the Warner factors, and this
   26
        Court’s prior analysis of those factors, favor the disclosure of the documents.
   27
        Dated: August 18, 2020
   28
                                                           JOINT MOTION FOR DETERMINATION OF
                                                 16                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521 Filed 08/18/20      PageID.35730     Page
                                   19 of 21

    1                                           ETHAN P. DAVIS
                                                Acting Assistant Attorney General
    2
                                                Civil Division
    3
                                                WILLIAM C. PEACHEY
    4                                           Director
    5
                                                KATHERINE J. SHINNERS
    6                                           Assistant Director
    7
                                                /s/ Alexander J. Halaska
    8                                           ALEXANDER J. HALASKA
                                                Trial Attorney
    9
                                                United States Department of Justice
   10                                           Civil Division
                                                Office of Immigration Litigation
   11                                           P.O. Box 868, Ben Franklin Station
   12                                           Washington, D.C. 20044
                                                Tel: (202) 307-8704 | Fax: (202) 305-
   13                                           7000
   14
                                                alexander.j.halaska@usdoj.gov

   15                                           Counsel for Defendants
   16
                                                MAYER BROWN LLP
   17                                             Matthew H. Marmolejo
                                                  Ori Lev
   18                                             Stephen M. Medlock
   19
                                                SOUTHERN POVERTY LAW
   20                                           CENTER
   21                                             Melissa Crow
                                                  Sarah Rich
   22                                             Rebecca Cassler
   23
                                                CENTER FOR CONSTITUTIONAL
   24                                           RIGHTS
                                                   Baher Azmy
   25                                              Ghita Schwarz
   26                                              Angelo Guisado

   27                                           AMERICAN IMMIGRATION
                                                COUNCIL
   28
                                                       JOINT MOTION FOR DETERMINATION OF
                                           17                          DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC   Document 521 Filed 08/18/20     PageID.35731   Page
                                   20 of 21

    1                                            Karolina Walters
    2
                                             By: /s/ Stephen M. Medlock
    3
                                                  Stephen M. Medlock
    4
                                             Attorneys for Plaintiffs
    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                     JOINT MOTION FOR DETERMINATION OF
                                           18                        DISCOVERY DISPUTE
Case 3:17-cv-02366-BAS-KSC    Document 521 Filed 08/18/20       PageID.35732     Page
                                    21 of 21

    1                            CERTIFICATE OF SERVICE
    2        I certify that I caused a copy of the foregoing document to be served on all
    3   counsel via the Court’s CM/ECF system.
    4   Dated: August 18, 2020                      MAYER BROWN LLP
    5

    6                                               By /s/ Stephen M. Medlock

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                          JOINT MOTION FOR DETERMINATION OF
                                                                          DISCOVERY DISPUTE
